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JACKsoN, TENNESSEE,

Defendant.

lN THE UNITED STATES DISTRICT COURT F | L E
FoR THE WESTERN DlsTRiCT oF TENNESSEE \'Ef
EASTERN DIVISION JUL 1 4 2
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MAGGIE D. GAMBRELL, ) W- OFTNF§§;‘J£H
)
Plaintiff, )
)

VS. ) No. 04-1055-T-An

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ORDER GRANTING MOTIONS FOR SANCTIONS AGAINST PLAINTIFF

 

Plaintiff filed this pro se employment discrimination complaint under Title VII, 42
U.S.C. § 2000e-5, against Michael Collier, Mary Blackwell, and Shirley Rose, her
supervisors at the Holiday Inn Express in Jackson, Tennessce. 0n March 24, 2004, the court
entered an order dismissing Defendants Collier, Blackwell, and Rose and directing Plaintiff
to file an amended complaint On April 6, 2004, Plaintiff filed an amended complaint,
naming Holiday Inn Express as the defendant

On June 14, 2005, Defendant filed a motion for sanctions against Plaintiff for her
failure to appear at her scheduled deposition [Docket # 14]. On June 17, 2005, Defendant
filed a second motion for sanctions against Plaintiff for her failure to appear at her re-
scheduled deposition [Docket # 16]. Plaintiff has not responded to either motion. F or the

reasons set forth below, Defendant’ s motions are GRANTED.

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with nine 58 answer 79 (a) FacP on O'-"[[{ ‘L§

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Rule 37(b)(2) of the Federal Rules of Civil Procedure provides as follows:

If a party . . . fails to obey an order to provide or permit discovery, including
an order made under subdivision (a) of this rule . , . the court in Which the
action is pending may make such orders in regard to the failure as are just, and

among others the following: . . . (C) [a]n order . . . dismissing the action or
proceeding or any part thereof, or rendering a judgment by default against the
disobedient party. . . .

The purpose of imposing sanctions is to “assure both future compliance With the discovery
rules and to punish past discovery failures, as well as to compensate a party for expenses
incurred due to another party's failure to properly allow discovery.” Bell v, Automobile
Club ofMichigan, 80 F.R.D. 228, 229 (E.D. Mich. 1978), cert denied, 442 U.S. 918 (1979).
“Dismissal of an action for failure to cooperate in discovery is a sanction of last resort that
may be imposed only if the court concludes that a party's failure to cooperate is due to
Willfulness, bad faith, or fault.” Regional Refuse Systems, 842 F.Zd 150, 154 (6th Cir. 1988)
(citing Patton v. Aeroiet Ordinance Co., 765 F.2d 604, 607 (6th Cir. 1985)).

Rule 4l(b) of the Federal Ru}es of Civil Procedure gives courts the authority to
dismiss a case for “failure of the plaintiff to prosecute or to comply With these rules or any
order of the court.” This measure is available to the court as a tool to effect “management
of its docket and avoidance of unnecessary burdens on the tax-supported courts [and]
opposing parties.” Knoll v. American Telep_hone & Telegraph Co., 176 F.3d 359, 363 (6th
Cir. 1999) (quoting Matter of Sanction ofBaker, 744 F.Zd 143 8, 1441 (10‘h Cir.1984)). A
court should consider four factors in assessing the vvhether to grant a motion to dismiss a

complaint under Rule 4l(b): (l) whether the party's failure to cooperate in discovery is due

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to willfulness, bad faith, or fault; (2) whether the adversary was prejudiced by the dismissed
party's failure to cooperate in discovery; (3) whether the dismissed party was warned that
failure to cooperate could lead to dismissal; and (4) whether less drastic sanctions were
imposed or considered before dismissal was ordered. Harmon v. CSX Transportation` Inc.,
110 F.3d 364, 366-67 (6th Cir.), cert denied, 522 U.S. 868 (1997) (citations and quotations
omitted).

Here, dismissal of the action is not appropriate at the present time. Even assuming
that Plaintiff’s failure to appear was due to “wilfulness, bad faith, or fault,” Plaintiff has not
previously been warned that failure to cooperate could lead to the dismissal of the action.
Additionally, the “less drastic sanction” of awarding Defendant its attorney fees and costs
is available, and the court can ameliorate any prejudice to Defendant by extending the
discovery deadlinesl § Knoll v. AT&T, 176 F.3d 359, 364 (6th 1999) (Affirming
dismissal because counsel neglected plaintiffs case, repeatedly ignored court orders without
excuse, and ultimately attempted to force the court to grant a continuance by refusing to
proceed on the day oftrial); I-Iood v. Smith’s Transfer Cort).,l999 WL 685920 (6th Cir.)
(Affirming dismissal of action based on plaintiffs failure to comply with four orders and a
delay often years).

Because a trial on the merits is favored in federal courts, see United Corn Meter Co.

 

Inc. v. Seaboard Coastline Railroad, 705 F.2d 839, 846 (6th Cir. 1983), the court will not

dismiss the action as a sanction at the present time. Instead, Defendant will be awarded the

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costs and fees, associated with preparing for and appearing at the depositions, as well as the
costs and fees incurred in filing these motions, as a sanction against Plaintiff.

Defense counsel has submitted his affidavit with the first motion which states that his
fee for preparing for the deposition, attending the deposition, and preparing the motion for
sanctions is $2,520. The court reporter fee Was $240. Defense counsel’s attorney fee related
to the rescheduled deposition and the second motion for sanctions is $480. The court
reporter fee was 8122. The court has reviewed these amounts, and they appear to be
reasonable Consequently, Defendant will be awarded $3,362 ($2,520 + $240 + $480 +
$lZZ) as a sanction against Plaintiff for her failure to appear at her deposition and the
rescheduled deposition

The discovery deadline is extended to August 13, 2005. Any dispositive motions must
be filed by September 12, 2005.

Plaintiff is warned that her continued failure to comply With discovery will result in
the dismissal of the action as a sanction

IT IS SO ORDERED.

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S D. TODD
UNI ED STATES DISTRICT JUDGE

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DATE

       

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Honorable J ames Todd
US DISTRICT COURT

